        Case 2:19-bk-14989-WB          Doc 483 Filed 12/04/19 Entered 12/04/19 19:26:20                Desc
                                        Main Document    Page 1 of 7


    1   Ashley M. McDow (245114)
        John A. Simon (admitted Pro Hac Vice)
    2   Shane J. Moses (250533)
        FOLEY & LARDNER LLP
    3   555 S. Flower St., 33rd Floor
        Los Angeles, CA 90071
    4   Telephone: 213.972.4500
        Email: amcdow@foley.com
    5          jsimon@foley.com
               smoses@foley.com
    6
    7   Attorneys for Debtors and Debtors in
        Possession, SCOOBEEZ, SCOOBEEZ GLOBAL,
    8   INC., and SCOOBUR, LLC
    9
                                     UNITED STATES BANKRUPTCY COURT
  10
                                      CENTRAL DISTRICT OF CALIFORNIA
  11
                                              LOS ANGELES DIVISION
  12
                                                              Case No. 2:19-bk-14989-WB
  13        In re:                                            Jointly Administered:
                                                              2:19-bk-14991-WB; 2:19-bk-14997-WB
  14        SCOOBEEZ, et al.1
                                                              Chapter 11
  15                 Debtors and Debtors in Possession.
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  28      The Debtors and the last four digits of their respective federal taxpayer identification numbers are as
        follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’
        address is 3463 Foothill Boulevard, Glendale, California 91214.

4847-7198-0206.3
        Case 2:19-bk-14989-WB     Doc 483 Filed 12/04/19 Entered 12/04/19 19:26:20      Desc
                                   Main Document    Page 2 of 7


    1
         Affects:                                   DECLARATION OF BRIAN WEISS IN
    2                                               SUPPORT OF OMNIBUS REPLY OF
         ■ All Debtors                              DEBTORS’ PROFESSIONALS TO: (1)
    3                                               OBJECTIONS OF THE UNITED STATES
         □ Scoobeez, ONLY                           TRUSTEE TO FIRST INTERIM FEE
    4                                               APPLICATIONS OF ARMORY
         □ Scoobeez Global, Inc., ONLY              SECURITIES, LLC CONWAY
    5                                               MACKENZIE, INC., AND FOLEY &
         □ Scoobur LLC, ONLY                        LARDNER LLP; (2) OBJECTION OF
    6                                               SHAHAN AND SHOUSHANA OHANESSIAN
                                                    TO FIRST INTERIM FEE APPLICATION
    7                                               OF FOLEY & LARDNER LLP; AND (3)
                                                    OMNIBUS OPPOSITION OF HILLAIR
    8                                               CAPITAL MANAGEMENT L.L.C. TO
                                                    FIRST INTERIM FEE APPLICATIONS OF
    9                                               (I) FOLEY & LARDNER LLP, (II) CONWAY
                                                    MACKENZIE, INC., (III) ARMORY
  10                                                SECURITIES, LLC, AND (IV) LEVENE,
                                                    NEALE, BENDER, YOU, & BRILL L.L.P.
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  12
                                                    Hearing:
  13                                                Date: December 5, 2019
                                                    Time: 10:00 a.m.
  14                                                Place: Courtroom 1375
                                                           U.S. Bankruptcy Court
  15                                                       255 East Temple Street
                                                           Los Angeles, CA 90012
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                                                   WEISS DECLARATION IN SUPPORT OF OMNIBUS REPLY
                                                                       Case No. 2:19-bk-14989-WB
                                                                              Jointly Administered:
                                                -2-          2:19-bk-14991-WB; 2:19-bk-14997-WB
4847-7198-0206.3
        Case 2:19-bk-14989-WB            Doc 483 Filed 12/04/19 Entered 12/04/19 19:26:20                  Desc
                                          Main Document    Page 3 of 7


    1              I, Brian Weiss, declare as follows:2
    2              1.     I am the Chief Restructuring Officer for Scoobeez, Scoobeez Global, Inc., and Scoobur,
    3   LLC (collectively the “Debtors”), debtors and debtors-in-possession in the above-captioned bankruptcy
    4   case. Except for those statements made expressly upon information and belief, the following facts are
    5   based upon my personal knowledge and if called to testify, I could and would competently testify to
    6   these facts under oath. As to those statements made upon information and belief, I believe them to be
    7   true.
    8              2.     I have reviewed Foley & Lardner LLP’s (“Foley”) First Interim Fee Application for
    9   Allowance of Compensation and Reimbursement of Expenses (the “Foley First Interim Application”),
  10    Conway MacKenzie, Inc.’s (“Conway”) First Interim Fee Application for Allowance of Compensation
  11    and Reimbursement of Expenses (the “Conway First Interim Application”), and Armory Securities,
  12    LLC’s (“Armory”) First Interim Fee Application for Allowance of Compensation and Reimbursement of
  13    Expenses (the “Armory First Interim Application”, and together with the Foley First Interim Fee
  14    Application and the Conway First Interim Fee Application, the “First Interim Applications”), in the
  15    above-referenced case.
  16               3.     Prior to the filing of the filing of the First Interim Applications and the payment of fees
  17    and expenses pursuant to the Compensation Procedures, I reviewed drafts of the underlying Monthly
  18    Statements containing the fees and expenses of Foley and Conway and obtained reductions of fees
  19    expenses from Conway and Foley to the extent I determined any were appropriate in order to make such
  20    Professionals’ fees reasonable and their expenses appropriate, actual and necessary.
  21               4.     With respect to the Foley First Interim Application, Foley has at all times since my
  22    appointment as CRO acted in the Debtors’ interest and has attempted to resolve these cases efficiently. I
  23    believe that Foley’s fees being sought were reasonable and necessary. Without limiting the foregoing,
  24    Foley’s work in support of the sale process yielded a stalking horse bid and a Court-approved sale
  25
        2
  26     Capitalized terms not defined herein have the meanings ascribed to them in the Stipulation (I)
        Resolving (A) Objection of the United States Trustee, (B) Limited Objection of Hillair Capital
  27    Management LLC, and (C) Informal Objections of The Official Committee of Unsecured Creditors, to
        Debtors’ Application to Employ Conway Mackenzie, Inc. as the Debtors’ Financial Advisors; (II)
  28    Resolving Objection of the United States Trustee to Debtors’ Application to Employ Foley & Lardner
        LLP as General Bankruptcy Counsel; and (III) Establishing Procedures for Interim Compensation and
        Reimbursement of Professionals [Docket No. 184].
                                                          WEISS DECLARATION IN SUPPORT OF OMNIBUS REPLY
                                                       -3-                       Case No. 2:19-bk-14989-WB
4847-7198-0206.3
        Case 2:19-bk-14989-WB            Doc 483 Filed 12/04/19 Entered 12/04/19 19:26:20               Desc
                                          Main Document    Page 4 of 7


    1   process that I believe was robust and which I believe was appropriate to find the highest and best offer
    2   for the Debtors’ assets, before Amazon’s actions changed the path of the sale. As a result, I support
    3   allowance of Foley’s fees and expenses in full as reasonable, appropriate and necessary since my
    4   appointment as CRO.
    5              5.     With respect to the Conway First Interim Application, Conway’s actual out-of-pocket
    6   expenses were expended for Conway’s primary professional responsible for this matter, Michael Flynn,
    7   who resides in San Diego, California. Therefore, he was required to travel to Los Angeles to be onsite at
    8   the Debtors’ offices for several days per week, particularly at the outset of the cases. The Debtors knew
    9   of his travel and did not raise any objections to it. He took the train from San Diego to Los Angeles and
  10    stayed at a hotel in Los Angeles during this time, utilizing taxis as needed. Because he was onsite, he
  11    also needed to eat and his meals while onsite at the Debtors. Conway’s financial services were
  12    necessary for the Debtors to meet bankruptcy requirements and the debtors’ forecasting needs at the
  13    time they were provided. As a result, I support allowance of Conway’s fees and expenses in full, as
  14    reasonable, appropriate and necessary.
  15               6.     With respect to the Armory First Interim Application, the fees and expenses incurred by
  16    Armory were reasonable and benefitted the Debtors’ estates. I reviewed and negotiated downward
  17    Armory’s monthly payments prior to the filing of the application to employ Armory and approval of
  18    such application. Armory was able to conduct a thorough marketing process for the Debtors’ assets and
  19    had a number of serious potential bidders conducting due diligence before Amazon made its decision to
  20    object to assumption and assignment of its contract. Armory performed as requested and desired by the
  21    Debtors. As a result, I support allowing Armory’s fees and expenses in full.
  22               7.     The Debtors’ Professionals’ fees and expenses have benefited the estate, and were
  23    reasonable and necessary at the time they were incurred.
  24               8.     I do not have any objections to the First Interim Fee Applications and support the
  25    granting of the First Interim Fee Applications on an interim basis.
  26               I declare under penalty of perjury under the laws of the United States of America that the
  27    foregoing is true and correct.
  28
                                                              WEISS DECLARATION IN SUPPORT OF OMNIBUS REPLY
                                                                                  Case No. 2:19-bk-14989-WB
                                                                                         Jointly Administered:
                                                           -4-          2:19-bk-14991-WB; 2:19-bk-14997-WB
4847-7198-0206.3
        Case 2:19-bk-14989-WB       Doc 483 Filed 12/04/19 Entered 12/04/19 19:26:20         Desc
                                     Main Document    Page 5 of 7


    1   Executed at Newport Beach, California on this 4th day of December, 2019.
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                                                          Brian Weiss
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                                                        WEISS DECLARATION IN SUPPORT OF OMNIBUS REPLY
                                                                            Case No. 2:19-bk-14989-WB
                                                                                   Jointly Administered:
                                                     -5-          2:19-bk-14991-WB; 2:19-bk-14997-WB
4847-7198-0206.3
       Case 2:19-bk-14989-WB                    Doc 483 Filed 12/04/19 Entered 12/04/19 19:26:20                                       Desc
                                                 Main Document    Page 6 of 7



                                       PROOF OF SERVICE OF DOCUMENT
        I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
        Foley & Lardner LLP, 555 South Flower Street, Suite 3300, Los Angeles, CA 90072-2411

        A true and correct copy of the foregoing document entitled (specify): DECLARATION OF BRIAN WEISS IN
        SUPPORT OF OMNIBUS REPLY OF DEBTORS’ PROFESSIONALS TO: (1) OBJECTIONS OF THE UNITED
        STATES TRUSTEE TO FIRST INTERIM FEE APPLICATIONS OF ARMORY SECURITIES, LLC CONWAY
        MACKENZIE, INC., AND FOLEY & LARDNER LLP; (2) OBJECTION OF SHAHAN AND SHOUSHANA
        OHANESSIAN TO FIRST INTERIM FEE APPLICATION OF FOLEY & LARDNER LLP; AND (3) OMNIBUS
        OPPOSITION OF HILLAIR CAPITAL MANAGEMENT L.L.C. TO FIRST INTERIM FEE APPLICATIONS OF (I)
        FOLEY & LARDNER LLP, (II) CONWAY MACKENZIE, INC., (III) ARMORY SECURITIES, LLC, AND (IV)
        LEVENE, NEALE, BENDER, YOU, & BRILL L.L.P. will be served or was served (a) on the judge in chambers in
        the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

        1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
        General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
        document. On 12/04/2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
        determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the
        email addresses stated below:


                                                                                           Service information continued on attached page

        2. SERVED BY UNITED STATES MAIL:
        On (date) 12/04/2019, I served the following persons and/or entities at the last known addresses in this
        bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the
        United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
        declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

          Honorable Julia W. Brand
          United States Bankruptcy Court
          Central District of California
          Edward R. Roybal Federal Building and Courthouse
          255 E. Temple Street, Suite 1382
          Los Angeles, CA 90012


                                                                                           Service information continued on attached page

        3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
        method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)               ,I
        served the following persons and/or entities by personal delivery, overnight mail service, or (for those who
        consented in writing to such service method), by facsimile transmission and/or email as follows. Listing the judge
        here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed no later
        than 24 hours after the document is filed.


                                                                                           Service information continued on attached page

        I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

           12/04/2019                 Ashley M. McDow                                              /s/ Ashley M. McDow

           Date                           Printed Name                                             Signature


               This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


         June 2012                                                                                F 9013-3.1.PROOF.SERVICE
4847-7198-0206.3
       Case 2:19-bk-14989-WB                      Doc 483 Filed 12/04/19 Entered 12/04/19 19:26:20                                       Desc
                                                   Main Document    Page 7 of 7



                                 PROOF OF SERVICE OF DOCUMENT CONT.
        1.         TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

             •     John-Patrick M Fritz jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
             •     Riebert Sterling Henderson shenderson@gibbsgiden.com
             •     Vivian Ho BKClaimConfirmation@ftb.ca.gov
             •     Alvin Mar alvin.mar@usdoj.gov
             •     Ashley M McDow amcdow@foley.com,
                   sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
             •     Stacey A Miller smiller@tharpe-howell.com
             •     Kevin H Morse kmorse@clarkhill.com, blambert@clarkhill.com
             •     Shane J Moses smoses@foley.com
             •     Akop J Nalbandyan jnalbandyan@LNtriallawyers.com, cbautista@LNtriallawyers.com
             •     Rejoy Nalkara rejoy.nalkara@americaninfosource.com
             •     Anthony J Napolitano anapolitano@buchalter.com,
                   IFS_filing@buchalter.com;salarcon@buchalter.com
             •     David L. Neale dln@lnbyb.com
             •     Aram Ordubegian ordubegian.aram@arentfox.com
             •     Hamid R Rafatjoo hrafatjoo@raineslaw.com, bclark@raineslaw.com;cwilliams@raineslaw.com
             •     Gregory M Salvato gsalvato@salvatolawoffices.com,
                   calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf.inforuptcy.com
             •     Steven M Spector sspector@buchalter.com, IFS_efiling@buchalter.com;salarcon@buchalter.com
             •     United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
             •     Eric K Yaeckel yaeckel@sullivanlawgroupapc.com




                 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


         June 2012                                                                                  F 9013-3.1.PROOF.SERVICE
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